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                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

PRECIOUS LYKES                           )
11409 Continental Avenue                 )
Cleveland, OH 44104                      )
                                         )
      Plaintiff,                         )
                                         )   Case No. 1:09-cv-00396
      v.                                 )
                                         )
DELANOR KEMPER & ASSOCIATES              )
2221 Peachtree Road                      )
Atlanta, GA 30309                        )
                                         )
      Defendant.                         )


                        NOTICE OF VOLUNTARY DISMISSAL

    PRECIOUS LYKES         (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and

pursuant to FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff

Without Court Order) voluntarily dismisses, with prejudice, DELANOR KEMPER &

ASSOCIATES,.(Defendant), in this case.



DATED: August 25, 2009                          RESPECTFULLY SUBMITTED,

                                          By:___/s/ Peter Cozmyk___________
                                                Peter Cozmyk,
                                                Attorney for Plaintiff
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                               VOLUNTARY DISMISSAL
